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11
12                              UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14    ISAAC RODRIGUEZ, as an individual         Case No. 5:14-CV-1508 BLF
      and on behalf of all others similarly
15    situated,                                 PLAINTIFF’S AMENDED NOTICE OF
                                                MOTION AND MOTION FOR FINAL
16                 Plaintiff,
                                                APPROVAL OF CLASS ACTION
17          v.                                  SETTLEMENT; MEMORANDUM OF
                                                POINTS AND AUTHORITIES IN SUPPORT
18    NIKE RETAIL SERVICES, INC., an
      Oregon corporation; and DOES 1 through
19    50, inclusive,                            Date:        January 27, 2022
                                                Time:        9:00 a.m.
20                 Defendants.                  Courtroom:   3, 5th Floor
21                                              Judge:       Hon. Beth Labson Freeman

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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that on January 27, 2022, at 9:00 a.m., or as soon thereafter
 3   as counsel may be heard, in Courtroom 3 of the Hon. Beth Labson Freeman, United States
 4   District Court for the Northern District of California, located at 280 South 1st Street, San Jose,
 5   CA 95113, Plaintiff Isaac Rodriguez (“Plaintiff”) will and hereby does move the Court for an
 6   Order (1) granting final approval of the proposed class action settlement; (2) approving Class
 7   Counsel’s application for attorneys’ fees in the amount of $8,250,000.00 (one-third of the Total
 8   Settlement Amount) and reimbursement of costs in the amount of $178,996.11; and (3)
 9   approving Plaintiff’s request for an enhancement award of $15,000.00.
10          Given that this is a Motion for Final Approval of a settlement reached with Defendant
11   NIKE Retail Services, Inc. (“Defendant”), Plaintiff has been informed that Defendant will not
12   oppose this Motion.
13          This Motion is based upon this Notice, the attached Memorandum of Points and
14   Authorities, the accompanying Declarations of Larry W. Lee, Dennis S. Hyun, Nick Rosenthal,
15   Kristen Agnew, Max Gavron, Mai Tulyathan, William L. Marder, Plaintiff, and Elizabeth
16   Kruckenberg, any oral argument of counsel, the complete files and records in the above-
17   captioned matter, and such additional matters as the Court may consider.
18
19   DATED: December 23, 2021                      DIVERSITY LAW GROUP, P.C.
                                                   HYUN LEGAL, P.C.
20                                                 POLARIS LAW GROUP
21
                                                   By:        /s/ Larry W. Lee
22                                                 Larry W. Lee
                                                   Nick Rosenthal
23                                                 Kristen Agnew
                                                   Max W. Gavron
24                                                 Mai Tulyathan
                                                   Dennis S. Hyun
25                                                 William L. Marder
                                                   Attorney for Plaintiff and the Class
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          As this Court may recall, this settlement was reached after years of significant litigation,
 4   and nearly on the eve of trial. Indeed, this case was completely dismissed by Defendant’s prior
 5   summary judgment, only to be resurrected through Plaintiff’s appeal. By this motion, Plaintiff
 6   Isaac Rodriguez (“Plaintiff”) seeks final approval of a substantial class-wide settlement reached
 7   between Plaintiff and Defendant NIKE Retail Services, Inc. (“Defendant”) (Plaintiff and
 8   Defendant collectively, the “Parties”). Plaintiff also seeks an order approving Class Counsel’s
 9   application for attorneys’ fees in the amount of $2,750,000.00 (one third of the Total Settlement
10   Amount of $8,250,000.00), reimbursement of litigation costs in the amount of $178,996.11, and
11   Plaintiff’s application for a enhancement award of $15,000.00. This request was set forth in the
12   Notice of Class Action Settlement (“Class Notice”) mailed to all Class Members. Moreover, the
13   settlement documents, including the Agreement, were uploaded and made available to putative
14   class members on the Administrator’s website. As set forth in the Class Action Settlement
15   Agreement (“Settlement Agreement”) between the Parties, Defendant has agreed to not object to
16   the requests sought herein.
17          On September 30, 2021, the Court entered an Order Granting Plaintiff’s Motion for
18   Preliminary Approval of Class Settlement (Dkt. No. 156) (“Preliminary Approval Order”). The
19   Parties now seek this Court’s final approval of the settlement.
20          The settlement requires Defendant to pay a total of Eight Million Two Hundred Fifty
21   Thousand Dollars ($8,250,000.00), a sum which represents a substantial recovery for the
22   members of the Class. Again, this settlement is non-reversionary, such that no monies will
23   revert back to Defendant. (Settlement Agreement § 5.5). As such, there was no claims
24   process involved. Class Members were given an opportunity to object or opt-out of the
25   settlement. As of the date of this filing, there have been zero (0) opt outs and zero (0) objections
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 1   to the settlement. (Declaration of Elizabeth Kruckenberg (“Kruckenberg Decl.”) ¶¶ 7-8.) 1
 2   Accordingly, this shows that the overwhelming majority of Class Members have reacted
 3   favorably to the settlement as there is a 100% participation rate and not a single objection
 4   from the 16,365 member class as of the date of this filing. Moreover, all of the Court’s orders
 5   concerning dissemination of the Class Notice have been followed.
 6             Based thereon, Plaintiff respectfully requests that final approval be granted in its entirety.
 7   II.       SUMMARY OF ARGUMENT
 8             As previously detailed in Plaintiff’s Motion for Preliminary Approval (Dkt. No. 153), this
 9   case was hard fought over several years, including numerous dispositive motions, class
10   certification and decertification, roughly 25 depositions of Plaintiff, and Defendant’s FRCP
11   30(b)(6) witnesses, managerial employees, and expert observers, as well as the Parties’
12   respective experts, expert reports, several rounds of written discovery, and an appeal to the Ninth
13   Cirucit which overturned the dismissal of this case.
14             The detailed terms of the settlement are set forth in the Class Action Settlement
15   Agreement (“Settlement Agreement”) entered into by the Parties and previously provided to this
16   Court. (Dkt. No. 153-1.) Pursuant to the settlement terms, Defendant will pay the entirety
17   (100%) of the settlement sum of $8,250,000.00 without any reversion to Defendant.
18             The proposed settlement meets the criteria for final approval, which are set forth in the
19   Manual for Complex Litigation, Fourth, and is well within the range of what would be fair,
20   reasonable, and adequate in this case. Thus, Plaintiff requests that the Court take the final step in
21   the approval process – granting the requested final approval of the settlement which is sought
22   herein.
23   III.      THE SETTLEMENT PROCESS HAS BEEN DUTIFULLY ADHERED TO AND
24             SUCCESSFULLY CARRIED OUT
25             A.     Dissemination of Notice
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27   1
      The Exclusion/Written Objection Deadline is January 17, 2022. As such, the Settlement
28   Administrator will submit a supplemental declaration after the deadline, but before the hearing
     on this matter.
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 1          As noted above, preliminary approval was granted on September 30, 2021. At that time,
 2   Phoenix Settlement Administrators (“Settlement Administrator”) was appointed by the Court as
 3   the Settlement Administrator. The Parties, through the work of the Settlement Administrator,
 4   have complied with this Court’s orders concerning dissemination of the class notice.
 5   (Kruckenberg Decl. ¶¶ 2-9.)
 6          The notice was mailed to the class of 16,365 individuals utilizing the data provided by
 7   Defendant. (Kruckenberg Decl. ¶¶ 3-5.) As of the date of this filing, no notices have been
 8   returned as undeliverable. (Id. ¶ 6). However, as set forth above, Plaintiff will submit
 9          B.      CAFA Notice
10         Pursuant to the Class Action Fairness Act of 2005 (the “CAFA”), Defendant provided
11   notice of the proposed settlement to the appropriate federal and state agencies in May 21, 2021.
12   IV.    OVERVIEW OF ISSUES AND ARGUMENT
13          As discussed in detail in the previously filed Motion for Preliminary Approval (Dkt. No.
14   153), this case primarily arose out of Defendant’s alleged security inspection practices.
15   Specifically, Plaintiff alleged that whenever employees left the retail store, they had to undergo a
16   security inspection. Defendant denies that it engaged in any alleged unlawful conduct and
17   maintains that it has complied with California law. Further, Defendant contends that it would
18   have prevailed on the merits at trial.
19   V.     LITIGATION HISTORY
20          On February 25, 2014, Plaintiff filed a class action complaint against Defendant in the
21   Santa Clara Superior Court, on behalf of himself and a proposed class consisting of “all current
22   and former non-exempt retail store employees of Defendants who worked in California during
23   the period from February 25, 2010 to the present.” On April 1, 2014, the Action was removed to
24   the United States District Court for the Northern District of California, Case No. 5:14-cv-1508-
25   BLF. Dkt. No. 1. Plaintiff subsequently filed a First Amended Complaint on December 8, 2014,
26   alleging the following causes of action: (1) violation of Cal. Labor Code §§ 1194 and 1197; (2)
27   violation of Cal. Labor Code §§ 510 and 1194; and (3) violation of Cal. Bus. & Prof. Code §§
28   17200, et seq. Dkt. No. 27. Plaintiff also sought waiting time penalties as part of his prayer for
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 1   relief. Id.
 2           On August 19, 2016, the Court granted Plaintiff’s Motion for Class Certification and
 3   denied Defendant’s Motion to Deny Class Certification as moot. See Dkt. No. 69. The Court
 4   certified the following class: “All current and former non-exempt retail store employees of
 5   Defendant who worked in California during the period from February 25, 2010 to the present.”
 6   Id. at p. 19. In granting class certification, the Court found that common questions of law and
 7   fact predominated:
 8                   Rodriguez is not asking for compensation for all the time between
                     when an employee clocks out and when she walks out the front
 9                   door. He is asking for compensation only for time spent waiting
                     for an exit inspection or being inspected. All employees have to be
10                   visually inspected before they can leave the store, so no
                     individualized inquiries are required.
11   Id. at p. 11.
12           Defendant subsequently moved for summary judgment against the certified class based
13   on the de minimis doctrine, arguing that its average inspection only takes seconds and thus is de
14   minimis and not compensable under the law. Dkt. No. 84. On September 12, 2017, the Court
15   granted Defendant’s Motion for Summary Judgment. Dkt. No. 100. Plaintiff appealed the ruling
16   to the Ninth Circuit. While Plaintiff’s appeal was pending, this Court taxed Defendant’s costs in
17   full and imposed $17,839.02 in costs against Plaintiff. Dkt. Nos. 110 & 111.
18           After full briefing and oral argument, on June 28, 2019, the Ninth Circuit issued its
19   opinion in Rodriguez v. Nike Retail Servs., Inc., 928 F.3d 810, 818 (9th Cir. 2019), reversing the
20   District Court’s grant of the Defendant’s motion for summary judgment based on Troester v.
21   Starbucks Corp., 421 P.3d 1114 (Cal. 2018), which held that the federal de minimis doctrine does
22   not apply to wage and hour claims brought under California law.
23           Following remand from the Ninth Circuit, the Parties stipulated to amend the class
24   certification order to expand class membership to November 15, 2019. Dkt. No. 135. As
25   Defendant changed its security check policy to have security inspections performed on the clock
26   effective November 15, 2019, to the Parties agreed to cut off class membership as of that date.
27   Thus, pursuant to the Parties’ stipulation, the certified class was expanded to include “all current
28   and former non-exempt retail store employees of Defendant who worked in California during the
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 1   period from February 25, 2010 to November 15, 2019.” Dkt. No. 136.
 2   VI.    THE SETTLEMENT
 3          The Settlement terms were summarized in detail in the Motion for Preliminary Approval,
 4   and Plaintiff respectfully incorporates those arguments herein so as to avoid unnecessary
 5   duplication. The specific terms of the settlement are set forth in the Settlement Agreement and
 6   the Order Granting Motion for Preliminary Approval of Class Settlement. (Dkt. Nos. 153-1 and
 7   156.) The principal terms are:
 8               a. Settlement Class is “all current and former non-exempt/hourly retail store
 9   employees of Defendant who worked in California at any time from February 25, 2010 through
10   and including November 15, 2019. Defendant represents that the Settlement Class is comprised
11   of approximately 16,365 unique individuals.”
12          b.      The Settlement Class is releasing:
13                  [A]ny and all claims under the wage and hour laws and regulations of the
                    state of California that were or could have been asserted based on the facts
14                  pleaded in the Lawsuit or any amendments thereto, including but not
                    limited to, all statutes mentioned in the Lawsuit and corresponding
15                  provisions of the relevant California Wage Order, including but not
                    limited to California Labor Code sections 201, 202, 203, 204, 510, 1194,
16                  1197, 1197.1, the and California Business and Professions Code sections
                    17200, et seq., as related to claims for: overtime; minimum wage; waiting
17                  time penalties; restitution; statutory penalties; interest; injunctive relief;
                    and attorneys’ fees, costs, and expenses. The Parties note that Private
18                  Attorney General Act (PAGA) claims and meal and rest break claims
19                  under Labor Code Sections 226.7 and 512 are not part of the Lawsuit or
                    this Settlement. The “Settlement Class Members’ Released Claims” are
20                  released from February 25, 2010 through and including December 31,
                    2019 (the “Release Period”).
21
     (Settlement Agreement at ¶ 2.30).
22
            c.      Defendant will pay the Total Settlement Amount of $8,250,000.00. This sum
23
     includes payments made to the settlement class members, settlement administration costs,
24
     awards of attorneys’ fees and costs, and the class representative enhancement award.
25
            d.      The sum available for use as payments to class members after the settlement
26
     administration costs, awards of attorneys’ fees and costs, and the class representative
27
     enhancement award shall be referred to as the Net Settlement Amount. Defendant agrees that it
28
     shall pay the entirety (100%) of the Net Settlement Amount. In other words, the settlement is
                                                      13

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 1   non-reversionary, meaning that no funds will revert back to Defendant.
 2          e.      No claim forms were necessary for any class member to participate in the
 3   settlement and receive their share of the settlement. Thus, any class member who does not opt-
 4   out in connection with this settlement will automatically receive his/her share of the settlement
 5   proceeds. On average, each class member will receive approximately a payment of $319.97.
 6   (Kruckenberg Decl. ¶ 11). The highest individual settlement payment to be paid will be
 7   approximately $2,280.74. (Id.)
 8          f.      Any remaining monies from uncashed checks will be paid to Legal Aid at Work.
 9          g.      All of this Court’s orders in connection with the settlement administration process
10   have been followed. (See Kruckenberg Decl. filed herewith).
11          The settlement represents a compromise between the positions and evaluations of the two
12   sides to this controversy. Clearly, there were significant disagreements between the Parties as to
13   the facts and the law.
14   VII.   THE SETTLEMENT EXCEEDS THE STANDARDS FOR FINAL APPROVAL
15          Federal Rule of Civil Procedure 23(e) provides that any compromise of a class action
16   must receive Court approval. The court has broad discretion to grant such approval and should
17   do so where the proposed settlement is “fair, adequate, reasonable, and not a product of
18   collusion.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998); Joel A. v. Giuliani,
19   218 F.3d 132, 138 (2nd Cir. 2000). In determining whether a proposed settlement should be
20   approved, the Ninth Circuit has a “strong judicial policy that favors settlement, particularly
21   where complex class action litigation is concerned.” Class Plaintiffs v. Seattle, 955 F.2d 1268,
22   1276 (9th Cir. 1992).
23          The fairness, reasonableness, and adequacy of any class action settlement depends on
24   “the relative strength of the plaintiffs’ case; the risk, expense, complexity, and likely duration of
25   further litigation; the risk of maintaining class action status throughout the trial; the amount
26   offered in settlement; the extent of discovery completed and the stage of the proceedings; the
27   experience and views of counsel; ... and the reaction of class members to the proposed
28   settlement.” Hanlon 150 F.3d at 1026. Here, as set forth in the Motion for Preliminary
                                                       14

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 1   Approval and discussed below, the factors for final approval of this settlement have been
 2   established.
 3           A.      The Strength of Plaintiff’s Case Supports Settlement
 4           This factor is generally satisfied when plaintiffs must overcome barriers to make their
 5   case. Chun–Hoon v. McKee Foods Corp., 716 F. Supp. 2d 848, 851 (N.D. Cal. 2010). One issue
 6   which will continue to pose risks at trial is the de minimis doctrine. Significantly, in Troester v.
 7   Starbucks Corp., 5 Cal. 5th 829 (2018), the California Supreme Court has issued its opinion on
 8   July 26, 2018 holding that de minimis doctrine does not apply to regularly occurring work under
 9   the California Labor Code. However, the Court left open the question and did not address
10   whether there are other activities that are so irregular or brief that it is unreasonable to require
11   compensation. Id. While this Court previously addressed Troester in its Order Denying Class
12   Certification, the Court only found that whether time spent off-the-clock for security checks and
13   visual inspections did not defeat commonality. (Dkt. No. 122.) The Court has yet to rule on
14   liability with respect to the certified security check claims. As this issue remains undecided, this
15   Settlement provides concrete relief to the Class without having to proceed with trial on this issue.
16           Finally, even if a violation could be established, as to the PAGA claim, this Court has
17   complete discretion to decrease any applicable penalties that could be assessed. Indeed, just
18   recently, the California Court of Appeals upheld a decision wherein PAGA penalties were
19   reduced by 90%. Carrington v. Starbucks Corp., 30 Cal. App. 5th 504 (2018).
20           Therefore, this factor favors settlement. See Dyer v. Wells Fargo Bank, N.A., 2014 WL
21   5369395, at *3 (N.D. Cal. Oct. 22, 2014) (factor favors final approval where “[p]laintiffs
22   acknowledge that, if the settlement is not approved, they will encounter significant obstacles in
23   establishing their claims”); see also Moore v. Verizon Commc’ns Inc., 2013 WL 4610764, at *5
24   (N.D. Cal. Aug. 28, 2013) (finding that the relative strength of plaintiffs’ case favored settlement
25   because plaintiffs admitted they would face hurdles in proving liability and damages).
26           B.      Risks, Expense, and Duration of Continued Litigation Support Settlement
27           “Difficulties and risks in litigating weigh in favor of approving a class settlement.” Dyer,
28   2014 WL 5369395, at *3 (citation omitted). In addition to the obstacles set forth above, even if
                                                        15

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 1   Plaintiff had prevailed at trial, there was a likelihood that Defendant would have appealed the
 2   verdict. Thus, the risks, expense, and duration of continued litigation favor final approval of the
 3   settlement. See Dyer, 2014 WL 5369395, at *3 (“This factor supports final approval of this
 4   settlement because, without a settlement, Plaintiffs would risk recovering nothing after a lengthy
 5   and costly litigation.”).
 6           C.      The Extent of Discovery Favors Settlement
 7           Here, settlement was reached following several years of litigation, motion, and appellate
 8   practice, including depositions of Plaintiff, FRCP 30(b)(6) witnesses, numerous percipient
 9   managerial employees, expert observers, and the Parties’ respective experts, as well as
10   interviews of class members, production of class data and time records, and extensive expert
11   discovery. Courts have held that such discovery is sufficient for parties to make an informed
12   decision regarding the adequacy of the settlement. See, e.g., Dyer, 2014 WL 5369395, at *3
13   (parties’ participation in written discovery, depositions, witness interviews, and formal mediation
14   favors an informed settlement); Chun-Hoon, 716 F. Supp. 2d at 848 (“true value of the class
15   claims is well-known and class counsel possess a sufficient understanding of the issues involved
16   and the strengths and weaknesses of the case”); see also In re Mego Fin. Corp. Sec. Litig., 213
17   F.3d 454, 459 (9th Cir. 2000) (formal discovery not necessary where the parties have sufficient
18   information to make an informed decision about settlement).
19           D.      The Recommendations of Counsel Favor Approval of the Settlement
20           The recommendations of experienced counsel should be given considerable weight.
21   Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979); Ellis v. Naval Air Rework
22   Facility, 87 F.R.D. 15, 18 (N.D. Cal. 1980), (“[T]he fact that experienced counsel involved in
23   the case approved the settlement after hard-fought negotiations is entitled to considerable
24   weight.”); Kirkorian v. Borelli, 695 F. Supp. 446, 451 (N.D. Cal. 1988); Reed v. General Motors
25   Corp., 703 F.2d 170, 175 (5th Cir. 1983); Williams v. Vukovich, 720 F.2d 909, 922-23 (6th Cir.
26   1983), Armstrong v. Board of Sch. Dirs., 616 F.2d 305, 325 (7th Cir. 1980).
27           Lead counsel for Plaintiff has broad experience litigating employment class actions. (Lee
28   Decl. ¶¶ 11-15; Declaration of Dennis S. Hyun (“Hyun Decl.”) ¶¶ 3-6; Declaration of William L.
                                                      16

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 1   Marder (“Marder Decl.”) ¶¶ 3-11.) They support this settlement as a fair and reasonable
 2   settlement which is in the best interest of the settlement class. (Lee Decl. ¶¶ 3-8; Hyun Decl. ¶¶
 3   7-9; Marder Decl. ¶¶ 12-13.) Therefore, this factor favors approval of the settlement. See Dyer,
 4   2014 WL 5369395, at *3 (recommendation of plaintiffs’ counsel supports approval of
 5   settlement); Chun-Hoon, 716 F. Supp. 2d at 848 (same).
 6          E.      The Class Has Responded Favorably to the Proposed Settlement
 7           “[T]he absence of a large number of objections to a proposed class action settlement
 8   raises a strong presumption that” the settlement is favorable to class members. In re Omnivision
 9   Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2008), see Pallas v. Pacific Bell, 1999 WL
10   1209495, at *6 (N.D. Cal. July 13, 1999) (“The greater the number of objectors, the heavier the
11   burden on the proponents of settlement to prove fairness.”).
12          Here, as of the date of this filing, not a single class member out of 16,365 individuals
13   has objected or opted out of this settlement. (Kruckenberg Decl. ¶¶ 7-8.) In other words, this
14   settlement has a 100% participation rate. (Id.) Thus, the absence of any objections or opt-outs
15   strongly support the fairness of the settlement. See Churchill Vill. LLC v. Gen. Elec., 361 F.3d
16   566, 577 (9th Cir .2004) (approving settlement with 45 objections and 500 opt-outs from a
17   90,000-person class, representing .05% and .56% of the class, respectively); Dyer, 2014 WL
18   5369395, at *4 (strong support from class in favor of approving settlement where only three of
19   8,695 class members opted out); Chun–Hoon, 716 F. Supp. 2d at 852 (where 16 of 329 class
20   members opted out, court found that positive class reaction “strongly supports settlement”).
21          F.      The Procedure Through Which the Settlement Was Achieved Supports Final
22                  Approval
23          The Ninth Circuit has recognized that the factors to be examined at final approval may
24   differ depending on the circumstance of each case. Officers for Justice, 688 F.2d at 625.
25   Therefore, although not one of the Officers for Justice listed factors, the procedures by which the
26   settlement was achieved also strongly support the fairness of the settlement. See Chun-Hoon,
27   716 F. Supp. 2d at 851 (“To these factors, the court adds as a ninth factor to consider the
28   procedure by which the settlement was arrived at”), citing Manual for Complex Litigation
                                                      17

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 1   (Fourth) § 21.6 (2004). As noted above, the parties participated in arm’s length negotiations,
 2   including one full day of a mediation before Michael Loeb, Esq., who was able to facilitate this
 3   settlement. This weighs in favor of approval of the settlement. See Chun-Hoon, 716 F. Supp.
 4   2d at 851 (finding that use of formal arm’s-length mediation supported approval of settlement
 5   agreement).
 6          Further, the Ninth Circuit has shown longstanding support of settlements reached through
 7   arm’s length negotiation by capable opponents. In Rodriguez v. West Publishing Corp., 563 F.3d
 8   948 (9th Cir. 2009), the Ninth circuit expressly opined that courts should defer to the “private
 9   consensual decision of the [settling] parties.” Id. at 965, citing Hanlon, 150 F.3d at 1027. The
10   primary reason for deferring to such settlements is the experience of counsel and the
11   participation of a neutral, both of which factors are present here.
12          The Court in Rodriguez found that the settling parties “put a good deal of stock in the
13   product of an arms’ length, non-collusive, negotiated resolution, and have never prescribed a
14   particular formula by which that outcome must be tested.” Rodriguez, 563 F.3d at 965 (citations
15   omitted). As the Court explained, “[i]n reality, parties, counsel, mediators, and district judges
16   naturally arrive at a reasonable range for settlements by considering the likelihood of a plaintiffs’
17   or defense verdict, the potential recovery, and the chances of obtaining it, discounted to present
18   value.” Id. at 965 (citations omitted). See also Williams v. Vukovich, 720 F.2d 909, 922-923
19   (6th Cir.1983) (“The court should defer to the judgment of experienced counsel who has
20   competently evaluated the strength of his proofs”); 4 Newberg on Class Actions § 11.24 (4th Ed.
21   & Supp. 2002); Manual For Complex Litigation (Fourth) § 30.42).
22          The proposed settlement has no deficiencies. There is no standard or benchmark for
23   determining whether any given settlement is fair. “Ultimately the district court’s determination
24   is nothing more than ‘an amalgam of delicate balancing, gross approximations and rough
25   justice.’” Officers for Justice v. Civil Service Comm’n of City and. County of San Francisco, 688
26   F.2d 615, 625 (9th. Cir. 1982) (citation omitted). In making its determination, the Court should
27   weigh the benefits that the settlement will realize for the class against the uncertainty of litigation
28   and the possibility that the class members would obtain no relief in the absence of a settlement.
                                                       18

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 1   See Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir. 1998) (“it is the very
 2   uncertainty of outcome in litigation and avoidance of wasteful and expensive litigation that
 3   induce consensual settlements”).
 4          The settlement has been reached after considerable investigation, litigation, negotiation,
 5   and involving the mediation efforts of a highly experienced mediator. Each side evaluated the
 6   strengths and weaknesses of their case and independently came to the conclusion that this
 7   settlement represents a responsible means of addressing the claims of Plaintiff and the Class, as
 8   well as Defendant’s contention that it would prevail on the merits.
 9   VIII. THE REQUESTED ATTORNEYS’ FEES AND COSTS SHOULD BE APPROVED
10          Governing Ninth Circuit law, following the clear instruction of the United States
11   Supreme Court in Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980), establishes that
12   percentage awards are to measure against the entire common fund created in the settlement. In
13   Glass v. UBS Financial Services, Inc., 2007 WL 474936, at *16 (N.D. Cal. Jan 26, 2007), citing
14   to the Ninth Circuit authority, the Court noted:
15                  The Ninth Circuit has held, however, that the district court must
                    award fees as a percentage of the entire fund, or pursuant to the
16                  lodestar method, not on the basis of the amount of the fund
                    actually claimed by the class.
17
     See also Williams v. MGM-Pathe Communications Co., 129 F.3d 1026, 1027 (9th Cir.1997).
18
            Moreover, the U.S. Supreme Court consistently has recognized that “a litigant or a lawyer
19
     who recovers a common fund for the benefit of persons other than himself or his client is entitled
20
     to a reasonable attorney’s fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S.
21
     472, 478 (1980); Mills v. Elec. Auto-Lite Co., 396 U.S. 375 (1970). The purpose of this doctrine
22
     is largely to avoid unjust enrichment, by spreading the litigation costs proportionally among all
23
     the beneficiaries so that the active beneficiary does not bear the entire burden alone. It provides
24
     that when a litigant’s efforts create or preserve a fund from which others derive benefits, the
25
     litigant may require the passive beneficiaries to compensate those who created the fund.
26
            Every United States Supreme Court case that has considered the award of attorney’s fees
27
     under the common fund doctrine has determined those fees as a percentage of the recovery. See,
28
                                                        19

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 1   e.g., Camden I Condo. Ass’n, Inc. v. Dunkle, 946 F.2d 768, 773 (11th Cir. 1991) (citing Blum v.
 2   Stenson, 465 U.S. 886, 900 n.16 (1984)) (noting that the percentage of recovery method is the
 3   appropriate method to award attorney’s fees in common fund cases); Sprague v. Ticonic Nat’l
 4   Bank, 307 U.S. 161, 165 n.2 (1939); Cent. R.R. & Banking Co. v. Pettus, 113 U.S. 116, 128
 5   (1885); Internal Improvement Fund Trs. v. Greenough, 105 U.S. 527, 532 (1881).
 6          The Ninth Circuit has also recognized a “ground swell of support for mandating a
 7   percentage-of-the-fund approach in common fund cases.” Florida v. Dunne, 915 F.2d 542, 545
 8   (9th Cir. 1990); see also In re Pac. Enters. Sec. Litig., 47 F.3d 373, 378-79 (9th Cir. 1995)
 9   (affirming attorney’s fee of 33% of the recovery). Although the Ninth Circuit has typically
10   found that 25% of the common fund is “benchmark,” numerous courts in the Ninth Circuit have
11   awarded higher amounts. See Stetson v. West Publishing Corp., Case No. 13-57061, at *11 (9th
12   Cir. May 11, 2016). The twenty-five percent benchmark may be adjusted upward or downward
13   depending on the circumstances presented by the particular case. Indeed, the Ninth Circuit and
14   district courts therein have routinely permitted recovery in the amount of 33.33%, 40% and even
15   up to 50% of the common fund. See, e.g., In re Activision Sec. Litig., 723 F. Supp. 1373, 1378
16   (N.D. Cal. 1989) (listing Ninth Circuit cases).
17          Seeking a fee based on a percentage of the gross recovery, which is what Class Counsel
18   is seeking here, is appropriate and even desirable in cases like this. See Newberg on Class
19   Actions, Fourth Edition, vol. 4, p. 556, §14.6 (noting that percentage of the fund awards are
20   preferable because they align the interests of the attorney with the client, as the attorney is not
21   incentivized to bill unnecessary hours to generate a greater fee); Boeing, 444 U.S. at 478. Unlike
22   the lodestar method which can encourage class counsel to devote unnecessary hours to generate a
23   substantial fee, under the POR [percentage of recovery] method, the more the attorney succeeds
24   in recovering money for the client, and the fewer legal hours expended to reach that result, the
25   higher dollar amount of fees the lawyer earns. Thus, one of the primary advantages of the POR
26   method is that it is thought to equate the interests of class counsel with those of the class
27   members and encourage class counsel to prosecute the case in an efficient manner.
28
                                                       20

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 1          As reiterated by the Ninth Circuit, courts are obligated to apply California law in diversity
 2   jurisdiction cases in awarding attorneys’ fees. Farmers Ins. Exch. v. Law Offices of Conrado Joe
 3   Sayas, Jr., 250 F.3d 1234, 1236 (9th Cir. 2001) (“Because this case is based on diversity
 4   jurisdiction, we are obligated to apply California state law regarding attorneys’ fees.”); Vizcaino
 5   v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002); Mangold v. Cal. Public Utils. Comm’n,
 6   67 F.3d 1470, 1478 (9th Cir. 1995); Chambers v. Whirlpool Corp., No. CV111733FMOJCGX,
 7   2016 WL 5922456, at *10 (C.D. Cal. Oct. 11, 2016) (“[i]n diversity actions…, the Ninth Circuit
 8   applies state law to determine the right to fees and the method for calculating fees”)
 9   (emphasis added).
10          As this case was removed to this Court pursuant to diversity jurisdiction, Plaintiff
11   respectfully submits that California law should govern this Court’s analysis. The California
12   Supreme Court clarified its stance on common fund cases, ruling –
13          “We join the overwhelming majority of federal and state courts in holding that when
            class action litigation established a monetary fund for the benefit of the class members,
14          and the trial court in its equitable powers awards class counsel a fee out of that fund,
15          the court may determine the amount of a reasonable fee by choosing an appropriate
            percentage of the fund created.”
16
     Laffitte v. Robert Half Int’l, 1 Cal. 5th 480, 503 (2016). Explaining its ruling, the Court further
17
     held that “[t]he recognized advantages of the percentage method – including relative ease of
18
     calculation, alignment of incentives between counsel and the class, a better approximation of
19
     market conditions in a contingency case, and the encouragement it provides counsel to seek an
20
     early settlement and avoid unnecessarily prolonging litigation – convince us the percentage
21
     method is a valuable tool that should not be denied by our trial courts.” Id. (internal citations
22
     omitted); see also Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047.
23
            Based on this rationale, the California Supreme Court in Laffite affirmed a fee award
24
     representing one-third of the fund and rejected the objections of putative class members to this
25
     award. Laffitte, 1 Cal.5th at 506. Further, this was based on a lodestar amount that required a
26
     multiplier of 2.13. Id. at 487. As the Court held, only when the multiplier is “extraordinarily
27
     high or low [should] the trial court [] consider whether the percentage method should be
28
                                                      21

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 1   adjusted so as to bring the imputed multiplier within a justifiable range.” Id. at 505. Moreover,
 2   in the Laffitte intermediate court decision, the court observed that “33 1/3 percent of the
 3   common fund is consistent with, and in the range of, awards in other class action lawsuits.”
 4   Laffitte v. Robert Half Int’l., Inc. (2014) 231 Cal.App.4th 860, 871.
 5          Numerous district courts have followed Laffitte in awarding 1/3 of the common fund.
 6   Indeed, District Judge Edward Davila in Ramirez v. Walgreen, N.D. Cal. Case No. 18-cv-03921-
 7   EJD (Dkt. No. 34) and Lao v. H&M Hennes & Mauritz, N.D. Cal. Case No. 16-cv-00333-EJD
 8   (Dkt. No. 166), followed Laffitte in awarding Plaintiff’s counsel (the same counsel as in the
 9   instant case) 1/3 of the common fund of $1.15 million based on a multiplier of 1.32 and $3.8
10   million based on a negative multiplier, respectively. Magistrate Judge Laurel Beeler in Reilly v.
11   Recreational Equipment, Inc., N.D. Cal. 3:18-cv-07385-LB, also awarded Plaintiff’s counsel 1/3
12   of the common fund of $5 million based on a multiplier of 2.7.
13          Additionally, the Northern District Court in Villalpando v. Exel Direct Inc., No. 3:12-CV-
14   04137-JCS, 2016 WL 7740854, at *2 (N.D. Cal. Dec. 12, 2016), cited Laffitte when awarding
15   33% of the common fund:
16                  Plaintiffs' fee request of $ 4,500,000 represents one-third of the
                    Settlement Fund, which is reasonable under both applicable law,
17                  and in light of the contingent risk, Counsel's documented lodestar,
                    the complex and protracted nature of the case, and strong result for
18                  the Class.
19   Id.
20          Further, the Eastern District Court in Zepeda v. Ulta Salon, Cosmetics & Fragrance, Inc.,
21   E.D. Cal. Case No. 1:17-cv-00853-DAD-EPG (Dkt. No. 55), followed Laffitte, in awarding 1/3 of
22   the common fund of $3.4 million, or $1,133,333.33 in attorneys’ fees applying a multiplier of
23   1.328. (Dkt. No. 55 at 12-14). In so holding, the Court reiterated that “[i]n a diversity action such
24   as this, federal courts apply state law both to determining the right to fees and the method of
25   calculating them.” Id.; see also Emmons v. Quest Diagnostics Clinical Labs., Inc., No.
26   113CV00474DADBAM, 2017 WL 749018, at *7 (E.D. Cal. Feb. 27, 2017) (following Laffitte in
27   awarding 33% of the common fund; “[t]he California Supreme Court recently held that the
28   percentage-of-fund method of calculating attorneys' fees survives in California courts”).
                                                      22

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 1          A.      The Percentage Awarded Should Mimic the Market
 2          Newberg on Class Actions, Fourth Edition, vol. 4, p. 560, § 14.6 contains an interesting
 3   discussion of the concept of a marketplace analysis and why it is so valuable in determining a
 4   percentage award:
 5                  [Goodrich and Silver]…suggest that fee awards should be
                    consistent with contingent fee arrangements negotiated in non-
 6                  class litigation:
                    The percentage method is consistent with and is intended to mirror
 7                  practice in the private marketplace where contingent fee attorneys
                    typically negotiate percentage fee arrangements with their clients.
 8                  As Judge Posner emphasized in In re Continental Illinois
                    Securities Litigations, “[t]he object in awarding a reasonable
 9                  attorney’s fee...is to simulate the market...The class counsel are
                    entitled to the fee they would have received had they handled a
10                  similar suit on a contingent fee basis, with a similar outcome, for a
11                  paying client.” In non-class litigations, one-third contingency fees
                    are typical. In their concurring opinion in Blum, Justices Brennan
12                  and Marshall observed that “[i]n tort suits, an attorney might
                    receive one-third of whatever the plaintiff recovers. In those cases,
13                  therefore, the fee is directly proportional to the recovery.”
                    If named plaintiffs have agreed to pay a one-third contingent fee,
14                  that is powerful evidence of a reasonable fee. One of the best ways
                    to demonstrate the value of counsel’s work to the class is to review
15                  the consideration agreed to be paid by the named plaintiffs in their
                    contracts. If the named plaintiffs have employed their counsel by
16                  contingent fee agreements that obligated them to pay one-third of
                    the recovery, it would indeed be inequitable for the members of the
17                  class, who will enjoy the benefits of this settlement without
                    incurring the risks of bringing the claim, to pay less than the
18                  named plaintiffs.
19          The complex and heavily litigated nature of this litigation, and its successful result lead to
20   the clear conclusion that the fee request herein is reasonable. In Camden I Condominium
21   Association, Inc., v. Dunkel, 946 F. 2d 768 (11th Cir. 1991), the court identified various factors
22   to be considered in arriving at a common fund fee determination. Each of the factors is now
23   briefly addressed.
24          1.      The time and labor required – this is overwhelmingly established in this motion,
25   based upon the work involved, and the supporting attorney declarations and time charts
26   submitted;
27          2.      The novelty and difficulty of the questions involved – this case involved novel
28   and difficult questions of evolving law, including Troester and Frlekin, which the Parties briefed
                                                      23

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 1   and litigated, including to the Ninth Circuit;
 2           3.     The skill requisite to perform the legal services properly – this goes hand in hand
 3   with the first and second factors. Plaintiff’s counsel was able to litigate this case effectively and
 4   ultimately achieved a very good result for the class because of Plaintiff’s counsel’s experience in
 5   litigating wage and hour cases;
 6           4.     The preclusion of other employment by the attorney due to the acceptance of the
 7   case – the case required and demanded attorney time on both sides. The result of this scheduling
 8   was that Class Counsel could have spent such time on numerous other matters while this
 9   litigation was ongoing. Indeed, Plaintiff’s counsel took numerous class member depositions,
10   briefed and argued numerous motions, and zealously represented Plaintiff and the Class;
11           5.     The customary fee – as discussed above, numerous courts have approved an
12   award of 33.33% of the gross settlement fund, which is the standard percentage pursuant to
13   California law;
14           6.     Whether the fee is fixed or contingent – this matter was clearly contingent without
15   any sort of fixed or guaranteed fees for Class Counsel. Indeed, Plaintiff’s counsel’s sole
16   payment was based on contingency fee and no fixed guaranteed costs would have received
17   unless Plaintiff’s counsel were successful in this litigation;
18           7.     Time limitation imposed by the client or the circumstances – although the client
19   did not impose any time limitations, Class Counsel invested a significant amount of time in this
20   case;
21           8.     The amount involved and results obtained – this is discussed above;
22           9.     The experience, reputation and ability of the attorney – as evidenced by the
23   supporting declarations, Class Counsel has been designated and certified as class counsel in
24   numerous other matters, including in the Northern District;
25           10.    The nature and length of the relationship with the client – this does not apply; and
26           11.    Awards in similar cases – similar cases were identified in the section above.
27           As the Court is well aware, Plaintiff’s counsel has diligently and zealously litigated this
28   case over several years, including successfully appealing dismissal of this case, fighting against
                                                       24

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 1   numerous attempts by Defendant to rebut the claims and defeat class certification. Significant
 2   risks were assumed by Plaintiff’s counsel in litigating this case. Plaintiff’s counsel’s lodestar
 3   cross check also supports the award of the 33.33% percentage fee given that their lodestar cross
 4   check results in a negative multiplier!
 5          Moreover, as this Court knows, Plaintiff’s attorneys heavily and aggressively litigate
 6   numerous wage and hour class actions on behalf of workers throughout the State of California –
 7   all cases of which are on a contingency fee basis. See, e.g., Rodriguez v. Nike Retail Servs., Inc.,
 8   928 F.3d 810, 818 (9th Cir. 2019); Magadia v. Wal-Mart Assocs., Inc., 384 F. Supp. 3d 1058
 9   (N.D. Cal. 2019). For example, in Magadia, Plaintiff’s counsel litigated that case for several
10   years, including trying the case to a successful $102 million judgment on behalf of the class.
11   Walmart appealed and prevailed, such that Plaintiff’s counsel lost their judgment and were not
12   reimbursed any costs or attorneys’ fees. As such, employment class actions present significant
13   risks. Nevertheless, Plaintiff’s counsel zealously represent workers notwithstanding the potential
14   for losing cases, or not being reimbursed attorneys’ fees and costs for years of tireless litigation.
15          The fee sought relates to all efforts expended by Class Counsel for the complete handling
16   of the class/representative action, including any additional work remaining to be performed by
17   Class Counsel in securing final Court approval of the Settlement, and later following through to
18   ensure that the Settlement is fairly administered and fully implemented.
19          A significant amount of work on the part of Class Counsel went into achieving this
20   resolution. Based upon the factors relating to approval of percentage of the fund fee awards,
21   class counsel submit that the effort and result justify the requested percentage fee requested. As
22   a secondary “cross-check” to the percentage of the common fund award, class counsel are also
23   providing this Court with a time and task chart, which breaks down the tasks and time spent by
24   each firm, so that the Court can conduct a lodestar analysis.
25          Plaintiff’s attorneys’ time and task charts show in this case that Plaintiff’s counsel
26   lodestar is $2,333,980.00 which results in a 1.17 multiplier of the requested amount.
27          B.      The Lodestar Calculation “Cross-Check”
28          It has been noted that it is sometimes helpful to courts to “cross-check” a percentage
                                                       25

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 1   award by employing a lodestar with a multiplier analysis. While the lodestar method is generally
 2   considered inappropriate in a common fund case where real cash benefits (as opposed to coupons
 3   or non-monetary benefits) are made available to class members, its use can provide further
 4   validation of the appropriateness of the percentage award approach. See In re Prudential Ins.
 5   Co. of America Sales Practice Litigation, 106 F. Supp. 2d 721 (D.N.J. 2000). Such is the case
 6   here.
 7           The declarations of Class Counsel evidence the fact that they devoted approximately
 8   3,274.7 hours of time to this litigation to date. (Lee Decl. ¶¶ 16-17, Exh. A; Agnew Decl. ¶¶ 11-
 9   13, Exh. A; Rosenthal Decl. ¶¶ 5-6, Exh. A; Gavron Decl. ¶¶ 12-13, Exh. A; Tulyathan Decl. ¶¶
10   13-15, Exh. A; Hyun Decl. ¶¶ 10-12, Exh. A; Marder Decl. ¶¶ 14-16, Exh. A.) These hours are
11   summarized in the time and task charts that are attached to Plaintiff’s counsel’s declarations.
12   And, to the extent that any argument is made that the time spent was duplicative, the way in
13   which Plaintiff’s counsel work is for each attorney to handle a task and for the other attorneys to
14   review and revise the work, which is identical to the way defense firms staff and handle cases.
15   More importantly, as recently noted by the Ninth Circuit in Stetson v. West Publishing Corp.,
16   Case No. 13-57061, at *13 (9th Cir. May 11, 2016), “some amount of duplicative work is
17   ‘inherent in the process of litigating over time.’” (Citing Moreno v. City of Sacramento, 534
18   F.3d 1106, 1112 (9th Cir. 2008)).
19           In addition, as explained above, Class Counsel expect to expend an additional 90 hours
20   through the final approval hearing, including on matters such as preparing the Motion for Final
21   Approval, attending the final approval hearing, and further conferring with class members
22   regarding the case status. (Lee Decl. ¶ 17; Hyun Decl. ¶ 11; Marder Decl. ¶ 15; Rosenthal Decl.
23   ¶ 6; Gavron Decl. ¶ 15; Tulyathan Decl. ¶ 15.) Thus, Class Counsel will have expended 3,364.7
24   hours through final approval.

25           Applying the various hourly rates of the law firms and lawyers who dedicated their

26   efforts to this matter, a lodestar of $2,333,980.00 is established for the amount of work spent

27   through final approval and for post-approval administration of the settlement. (Lee Decl. ¶¶ 16-

28   17, Exh. A; Agnew Decl. ¶¶ 11-13, Exh. A; Rosenthal Decl. ¶¶ 5-6, Exh. A; Gavron Decl. ¶¶ 12-
                                                      26

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 1   13, Exh. A; Tulyathan Decl. ¶¶ 13-15, Exh. A; Hyun Decl. ¶¶ 10-12, Exh. A; Marder Decl. ¶¶
 2   14-16, Exh. A.) The percentage award sought by Class Counsel, if converted to the lodestar
 3   method, would entail a modest multiplier of approximately 1.17. In the Ninth Circuit, positive
 4   multipliers “ranging from one to four are frequently awarded…when the lodestar method is
 5   applied.” Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1051 n. 6 (9th Cir.) . Again, in Spann, the
 6   Court granted a 3.07 multiplier. Thus, as set forth in the Introduction to this motion, the fee

 7   application is supported whether by the cross-check lodestar/multiplier method discussed herein,

 8   or by the percentage of the common fund discussed in the preceding sections.

 9                  1.      Plaintiff’s Counsel’s Lodestar is Reasonable

10          The hourly rates employed by Class Counsel, as declared to in the attorney declarations,

11   are reasonable. Plaintiff’s attorneys are entitled to the hourly rates charged by attorneys of

12   comparable experience, reputation, and ability for similar litigation. The background and

13   experience of Plaintiff’s counsel are fully set forth in the declarations filed in support of this

14   motion. The basic hourly rates listed for each firm are fair, and representative of the

15   combination of years of experience and the clear successes they have had in the past in

16   connection with class action litigation. The time and task charts summarize the total hours

17   devoted to the matter by the various law firms, along with the hourly rates as set forth in the

18   supporting declarations, and the total billed. Lee Decl. ¶¶ 16-17, Exh. A; Agnew Decl. ¶¶ 11-13,

19   Exh. A; Rosenthal Decl. ¶¶ 5-6, Exh. A; Gavron Decl. ¶¶ 12-13, Exh. A; Tulyathan Decl. ¶¶ 13-

20   15, Exh. A; Hyun Decl. ¶¶ 10-12, Exh. A; Marder Decl. ¶¶ 14-16, Exh. A.)

21          As discussed in their supporting declarations, Class Counsel are a group of well-

22   experienced litigators, including class action litigation. (Lee Decl. ¶¶ 11-15; Hyun Decl. ¶¶ 3-6;

23   Marder Decl. ¶¶ 3-11; Tulyathan Decl. ¶¶ 9-12; Agnew Decl. ¶¶ 2-7; Gavron Decl. ¶¶ 2-8;

24   Rosenthal Decl. ¶¶ 2-3.) Under California law, counsel are entitled to compensation for all

25   hours reasonably spent on the matter. Ketchum vs. Moses, 24 Cal. 4th 1122, 1133 (2001).

26   Reasonableness of hours is assessed by “the entire course of the litigation, including pretrial

27   matters, settlement negotiations, discovery, litigation tactics, and the trial itself….” Vo v. Las

28   Virgenes Municipal Water Dist., 79 Cal. App. 4th 440, 447 (2000). In addition, the attached
                                                       27

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 1   time and task charts clearly reflect the many hours which were necessarily spent on the case.
 2           In the Litigation History section above, the nature and extent of the proceedings held
 3   throughout this litigation were set forth in detail. Without repeating the same, it is incorporated
 4   herein. The total hours and billings thus generated are all supported herein. In sum, it is
 5   submitted that the reasonableness of Plaintiff’s lodestar is manifest. In the present case, Class
 6   Counsel’s lodestar exceeds the requested amount and thus, heavily favors granting of 33.33%
 7   fees in this case.
 8           Whether analyzed under the percentage of the fund approach, which is the dominant
 9   view, or via the cross-check approach under the loadstar/multiplier approach, the fees are fully
10   supported. This entire case has been litigated from the onset, demanded an extraordinary effort
11   on the part of Class Counsel, and further required substantial costs advanced.
12           Finally, and as instructed by our Supreme Court and Ninth Circuit law, fees should be
13   awarded off of the total fund created. It is the creation of the fund, and the opportunity to simply
14   receive one’s share, which creates the right to the fee. Boeing Co. v. Van Gemert, 444 U.S. 472,
15   478 (1980).
16           C.      The Court Should Approve the Request for Reimbursement of Costs
17           The request for reimbursement of costs, in the amount of $178,996.11 is fair and
18   reasonable. As stated above, the costs are all litigation related costs, which have been detailed in
19   the supporting declaration of Class Counsel. (Lee Decl. ¶ 19, Exh. B; Marder Decl. ¶ 17, Exh.
20   B; Hyun Decl. ¶ 13, Exh. B.) The authority for the Court to award costs is the parties’
21   Settlement Agreement and Labor Code Sections 218.5, 226(e), and 2699(g)(1). Further,
22   pursuant to the Settlement Agreement, Defendant has agreed not to oppose any request for

23   reimbursement of costs up to $250,000.00, but the actual costs that are being sought are much
24   less than the amount allotted in the Settlement Agreement. Pursuant to all of the authority cited
25   above, including this Court’s opinion in Vandervort, 8 F. Supp. 3d at 1209-10, Plaintiff’s counsel

26   should be awarded their costs.
27   IX.     PLAINTIFF’S ENHANCEMENT SHOULD BE APPROVED
28           Finally, Plaintiff’s enhancement is also justified given the duration of the litigation and
                                                       28

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 1   his availability throughout the litigation to cooperate in producing documents, reviewing
 2   documents, and traveling from Gilroy to San Jose to prepare and sit for his deposition andhaving
 3   Defendant’s costs awarded against him in the amount of $17,839.02. Dkt. Nos. 110 & 111;
 4   Declaration of Isaac Rodriguez (“Rodriguez Decl.”) ¶ 9.
 5           Plaintiff respectfully requests that the full amount of the service payment be awarded to
 6   him for the efforts that he undertook on behalf of the Class Members. It is commonly held that it
 7   is appropriate to recognize the role of the representative plaintiff without whose actions and
 8   courage the benefits of the settlement, which are conferred on the class as a whole, would never
 9   have been achieved. The criteria courts may consider in relation to incentive payments include:
10   1) the risk to the class representative in commencing the suit, both financial and otherwise; 2) the
11   notoriety and personal difficulties encountered by the class representative; 3) the amount of time
12   and effort spent by the class representative; 4) the duration of the litigation; and 5) the personal
13   benefit (or lack thereof) enjoyed by the class representative as a result of the litigation. See
14   Munoz v. BCI Coca-Cola Bottling Co. of Los Angeles, 186 Cal. App. 4th 399, 412 (2010) (citing
15   Stanton v. Boeing Co., 327 F.3d 938, 975 (9th Cir. 2003)). Each of these factors favors the
16   service awards requested in the present case.
17           Plaintiff is the only representative in this case. Plaintiff met with his attorneys to provide
18   information regarding the facts involved. (Rodriguez Decl. ¶ 4.) Plaintiff also met with his
19   attorneys to discuss the case and facts related to this matter. (Id.) Plaintiff has made himself
20   available to answer questions and to sign declarations in support of the various motions that have
21   been brought in this case. (Id.) Plaintiff further traveled from Gilroy to San Jose to prepare for
22   and testify at his deposition. (Id.)
23           Plaintiff took these risks upon himself from which the whole Class benefitted. Class
24   members did not have to file individual lawsuits, nor did they have to bear the risks of payment
25   of fees and costs should they not prevail. Class members also do not have to face the risk of
26   potential retaliation or risk of future employment, due to Plaintiff’s efforts. In short, Plaintiff
27   sacrificed a significant amount of time, effort, and his own rights in bringing about the benefits
28   to the class.
                                                       29

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 1          The payment of enhancement awards to successful class representatives is appropriate
 2   and the amount of $15,000 to Plaintiff is within the typically accepted range. See e.g. Van
 3   Vranken v. Atlantic Richfield Co., 901 F. Supp. 294, 299-300 (N.D. Cal. 1995) (incentive award
 4   of $50,000); In re Dun & Bradstreet Credit Servs. Customer Litig., 130 F.R.D. 366, 374 (S.D.
 5   Ohio 1990) (two incentive awards of $55,000, and three incentive awards of $ 35,000);
 6   Brotherton v. Cleveland, 141 F. Supp. 2d 907, 913-14 (S.D. Ohio 2001) (granting a $50,000
 7   Incentive award); Enter. Energy Corp. v. Columbia Gas Transmission Corp., 137 F.R.D. 240,
 8   251-252 (S.D. Ohio 1991) ($50,000 awarded to each class representative); Glass v. UBS Fin.
 9   Servs., No. C-06-4068, 2007 U.S. Dist. LEXIS 8476, at *51-52 (N.D. Cal. Jan. 27, 2007)
10   (awarding $25,000 Incentive award in FLSA overtime wages class action); Cook v. Niedert, 142
11   F.3d 1004, 1016 (7th Cir. 1998) (affirming $25,000 Incentive award to class representative in
12   ERISA case). Moreover, a $15,000 service payment represents a mere 0.18% of the gross
13   settlement amount. For such reasons, Plaintiff respectfully requests that this Court find the
14   enhancement payment amount of $15,000 to Plaintiff as fair, reasonable, and adequate and that
15   the enhancement payment be awarded to Plaintiff.
16   X.     THE ADMINISTRATOR’S COSTS SHOULD BE APPROVED
17          Here, Phoenix Settlement Administrators dutifully administered the settlement. (See
18   generally Kruckenberg Decl.) The Agreement provides up to $69,750.00for Phoenix’s cost.
19   (Settlement Agreement § 5.2). Plaintiff respectfully requests that the Court award Phoenix its
20   costs in the amount of $69,750.00.
21   XI.    CONCLUSION
22          Based on the foregoing, Plaintiff and Class Counsel respectfully request that this Motion
23   be granted in its entirety and grant Plaintiff’s counsel’s fee request of $2,750,000.00, costs
24   requested in the amount of $178,996.11, class representative enhancement of $15,000.00, and
25   settlement administration costs of $69,750.00. The Parties have reached this settlement
26   following extensive litigation, ongoing case discussions and arms-length negotiations. Plaintiff
27   respectfully requests that the Court:
28          1.      Grant final approval of the proposed settlement;
                                                      30

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 1          2.     Order payment from the settlement proceeds to the Settlement Administrator in
 2   compliance with the Settlement Agreement;
 3          3.     Order payment from the settlement proceeds to Class Counsel and Plaintiff in
 4   compliance with the Settlement Agreement;
 5          4.     Enter the proposed Final Approval Order and Judgment submitted herewith; and
 6          5.     Retain continuing jurisdiction over the implementation, interpretation, , and
 7   consummation of the settlement.
 8
 9   DATED: December 23, 2021                    DIVERSITY LAW GROUP, P.C.
                                                 HYUN LEGAL, P.C.
10                                               POLARIS LAW GROUP
11
                                                 By:        /s/ Larry W. Lee
12                                               Larry W. Lee
                                                 Nick Rosenthal
13                                               Kristen Agnew
                                                 Max W. Gavron
14                                               Mai Tulyathan
                                                 Dennis S. Hyun
15                                               William L. Marder
                                                 Attorney for Plaintiff and the Class
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